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                                                                                    2021 Mar-22 AM 11:52
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ALABAMA

D.S.,                                       )
                                            )
             Plaintiff,                     )
                                            )
             v.                             )
                                            )
JEFFERSON DUNN; GRANTT CULLIVER;            ) Case No.: 2:20-cv-02012-RDP
CHARLES DANIELS; JEFFERY                    )
WILLIAMS; EDWARD ELLINGTON;                 )
KARLA JONES; GWENDOLYN GIVENS;              )
ANTHONY BROOKS; CARL SANDERS;               )
GARY MALONE; KEVIN WHITE; CARLA             )
GRAHAM; CHRISTY VINCENT;                    )
ANGELIA GORDY; WILLIAM                      )
RAGSDALE; NEKETRIS ESTELLE;                 )
GERALD MCMILLIAN; CHRISTOPHER               )
BOYD; JEFFERY BALDWIN; SHANNON              )
CALDWELL; ERROL PICKENS; ALLEN              )
KNOTT; SERGEANT PICKETT;                    )
SERGEANT MCCORDLES; OFFICER                 )
TERRY; OFFICER STREETER; OFFICER            )
GARLAND; CLASSIFICATION OFFICER             )
BAEZ; and UNKNOWN EMPLOYEES OF              )
THE ALABAMA DEPARTMENT OF                   )
CORRECTIONS,                                ) JURY TRIAL DEMANDED
                                            )
             Defendants.                    )


                  REQUEST FOR SERVICE VIA CERTIFIED MAIL

        Plaintiff D.S., by and through his attorneys, Loevy & Loevy, respectfully

requests that Defendant Charles Daniels be served via certified mail pursuant to

Alabama Rules of Civil Procedure 4(i)(2) and Federal Rules of Civil Procedure

4(e)(1).

                                        Respectfully submitted,
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                                   D.S.


                                   BY: /s/ Ruth Z. Brown
                                    One of Plaintiff’s Attorneys



Ruth Z. Brown (pro hac vice)
Megan Pierce (pro hac vice)
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, IL 60607
(312) 243-5900

Anil Mujumdar
Local Counsel
Dagney Law Logo
2170 Highland Avenue, Suite 250
Birmingham, AL 35205
(205) 590-6986




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